Filed 05/09/19                                                             Case 19-11992                                                                   Doc 1

  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  EASTERN DISTRICT OF CALIFORNIA

  Case number (if known)                                                        Chapter you are filing under:

                                                                                   Chapter 7
                                                                                   Chapter 11
                                                                                   Chapter 12
                                                                                   Chapter 13                                       Check if this an
                                                                                                                                    amended filing




 Official Form 101
 Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/17
 The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
 case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
 would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to
 distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be
 Debtor 1 in all of the forms.

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
 more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
 every question.


  Part 1:   Identify Yourself

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

  1.   Your full name

       Write the name that is on     ROSAURA
       your government-issued        First name                                                      First name
       picture identification (for
       example, your driver's
       license or passport).         Middle name                                                     Middle name

       Bring your picture            MATA
       identification to your
                                     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)
       meeting with the trustee.



  2.   All other names you have
       used in the last 8 years FKA ROSAURA MARTINEZ
       Include your married or
       maiden names.



  3.   Only the last 4 digits of
       your Social Security
       number or federal             xxx-xx-2128
       Individual Taxpayer
       Identification number
       (ITIN)




 Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                             page 1
Filed 05/09/19                                                           Case 19-11992                                                                           Doc 1
  Debtor 1   ROSAURA MATA                                                                               Case number (if known)




                                   About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

  4.   Any business names and
       Employer Identification
       Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
       used in the last 8 years

       Include trade names and     Business name(s)                                              Business name(s)
       doing business as names

                                   EINs                                                          EINs




  5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                   10405 ATAKAPA AVE.
                                   Bakersfield, CA 93312
                                   Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                   Kern
                                   County                                                        County

                                   If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                   above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                   notices to you at this mailing address.                       mailing address.



                                   Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




  6.   Why you are choosing        Check one:                                                    Check one:
       this district to file for
       bankruptcy                         Over the last 180 days before filing this                      Over the last 180 days before filing this petition, I
                                          petition, I have lived in this district longer than            have lived in this district longer than in any other
                                          in any other district.                                         district.

                                          I have another reason.                                         I have another reason.
                                          Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
Filed 05/09/19                                                           Case 19-11992                                                                            Doc 1
  Debtor 1    ROSAURA MATA                                                                                 Case number (if known)



  Part 2:    Tell the Court About Your Bankruptcy Case

  7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
       Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       choosing to file under
                                   Chapter 7
                                       Chapter 11
                                       Chapter 12
                                       Chapter 13



  8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                           about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                           order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                           a pre-printed address.
                                           I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                           The Filing Fee in Installments (Official Form 103A).
                                           I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                           but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                           that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                           out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


  9.   Have you filed for             No.
       bankruptcy within the
       last 8 years?                  Yes.
                                                District                                 When                             Case number
                                                District                                 When                             Case number
                                                District                                 When                             Case number



  10. Are any bankruptcy              No
      cases pending or being
      filed by a spouse who is        Yes.
      not filing this case with
      you, or by a business
      partner, or by an
      affiliate?
                                                Debtor                                                                   Relationship to you
                                                District                                 When                            Case number, if known
                                                Debtor                                                                   Relationship to you
                                                District                                 When                            Case number, if known



  11. Do you rent your                No.        Go to line 12.
      residence?
                                      Yes.       Has your landlord obtained an eviction judgment against you?
                                                           No. Go to line 12.
                                                           Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                           this bankruptcy petition.




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
Filed 05/09/19                                                          Case 19-11992                                                                        Doc 1
  Debtor 1    ROSAURA MATA                                                                                   Case number (if known)



  Part 3:    Report About Any Businesses You Own as a Sole Proprietor

  12. Are you a sole proprietor
      of any full- or part-time         No.      Go to Part 4.
      business?
                                        Yes.     Name and location of business
       A sole proprietorship is a
       business you operate as                   Name of business, if any
       an individual, and is not a
       separate legal entity such
       as a corporation,
       partnership, or LLC.
       If you have more than one                 Number, Street, City, State & ZIP Code
       sole proprietorship, use a
       separate sheet and attach
       it to this petition.                      Check the appropriate box to describe your business:
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         None of the above

  13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
      Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
      you a small business           in 11 U.S.C. 1116(1)(B).
      debtor?
                                        No.      I am not filing under Chapter 11.
       For a definition of small
       business debtor, see 11
                                        No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
       U.S.C. § 101(51D).
                                                 Code.

                                        Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


  Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

  14. Do you own or have any            No.
      property that poses or is
      alleged to pose a threat          Yes.
      of imminent and                          What is the hazard?
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs                      If immediate attention is
      immediate attention?                     needed, why is it needed?

       For example, do you own
       perishable goods, or
       livestock that must be fed,             Where is the property?
       or a building that needs
       urgent repairs?
                                                                             Number, Street, City, State & Zip Code




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                page 4
Filed 05/09/19                                                            Case 19-11992                                                                         Doc 1
  Debtor 1    ROSAURA MATA                                                                               Case number (if known)

  Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                       About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
  15. Tell the court whether           You must check one:                                           You must check one:
      you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
      briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
      counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                           certificate of completion.                                    completion.
       The law requires that you
       receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
       credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
       you file for bankruptcy.
       You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
       one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
       choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a
       so, you are not eligible to         a certificate of completion.                                  certificate of completion.
       file.
                                           Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
       If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
       can dismiss your case, you          payment plan, if any.                                         any.
       will lose whatever filing fee
       you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
       creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
       collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                           days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                           circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                           of the requirement.
                                                                                                         To ask for a 30-day temporary waiver of the requirement,
                                           To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                           requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                           what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                           you were unable to obtain it before you filed for             circumstances required you to file this case.
                                           bankruptcy, and what exigent circumstances
                                           required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                         with your reasons for not receiving a briefing before you
                                           Your case may be dismissed if the court is                    filed for bankruptcy.
                                           dissatisfied with your reasons for not receiving a
                                           briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                           If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                           still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                           You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                           agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                           developed, if any. If you do not do so, your case
                                                                                                         Any extension of the 30-day deadline is granted only for
                                           may be dismissed.
                                                                                                         cause and is limited to a maximum of 15 days.
                                           Any extension of the 30-day deadline is granted
                                           only for cause and is limited to a maximum of 15
                                           days.
                                           I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                           credit counseling because of:                                 counseling because of:

                                                 Incapacity.                                                  Incapacity.
                                                 I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                                 that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                                 making rational decisions about finances.                    decisions about finances.

                                                 Disability.                                                  Disability.
                                                 My physical disability causes me to be                       My physical disability causes me to be unable to
                                                 unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                                 by phone, or through the internet, even after                through the internet, even after I reasonably tried to
                                                 I reasonably tried to do so.                                 do so.

                                                 Active duty.                                                 Active duty.
                                                 I am currently on active military duty in a                  I am currently on active military duty in a military
                                                 military combat zone.                                        combat zone.
                                           If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                           briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                           motion for waiver credit counseling with the court.           of credit counseling with the court.




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                page 5
Filed 05/09/19                                                         Case 19-11992                                                                               Doc 1
  Debtor 1    ROSAURA MATA                                                                                 Case number (if known)

  Part 6:    Answer These Questions for Reporting Purposes

  16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
      you have?                              individual primarily for a personal, family, or household purpose.”
                                                 No. Go to line 16b.

                                                 Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.
                                                 No. Go to line 16c.
                                                 Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



  17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
      Chapter 7?

       Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
       after any exempt                      expenses are paid that funds will be available to distribute to unsecured creditors?
       property is excluded and
       administrative expenses                   No
       are paid that funds will
       be available for                          Yes
       distribution to unsecured
       creditors?

  18. How many Creditors do           1-49                                            1,000-5,000                                 25,001-50,000
      you estimate that you                                                           5001-10,000                                 50,001-100,000
      owe?                            50-99
                                      100-199                                         10,001-25,000                               More than100,000
                                      200-999

  19. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
      estimate your assets to         $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
      be worth?
                                      $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

  20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
      estimate your liabilities       $50,001 - $100,000                              $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
      to be?
                                      $100,001 - $500,000                             $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                           $100,000,001 - $500 million                  More than $50 billion


  Part 7:    Sign Below

  For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                   United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                   document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                   bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
                                   1519, and 3571.
                                   /s/ ROSAURA MATA
                                   ROSAURA MATA                                                     Signature of Debtor 2
                                   Signature of Debtor 1

                                   Executed on     May 7, 2019                                      Executed on
                                                   MM / DD / YYYY                                                   MM / DD / YYYY




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 6
Filed 05/09/19                                                             Case 19-11992                                                                         Doc 1
  Debtor 1   ROSAURA MATA                                                                                   Case number (if known)




  For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
  represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                  for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. §
  If you are not represented by   342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information
  an attorney, you do not need    in the schedules filed with the petition is incorrect.
  to file this page.
                                  /s/ Robert S. Williams                                             Date         May 7, 2019
                                  Signature of Attorney for Debtor                                                MM / DD / YYYY

                                  Robert S. Williams 73172 CA
                                  Printed name

                                  Williams & Williams, Inc.
                                  Firm name

                                  2441 G St., Ste. A
                                  Bakersfield, CA 93301
                                  Number, Street, City, State & ZIP Code

                                  Contact phone     661-323-7933                               Email address         bob@kernbankruptcy.law
                                  73172 CA CA
                                  Bar number & State




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
Filed 05/09/19                                    Case 19-11992                                              Doc 1




                                                          Certificate Number: 15317-CAE-CC-032597901


                                                                         15317-CAE-CC-032597901




                               CERTIFICATE OF COUNSELING

           I CERTIFY that on April 3, 2019, at 9:36 o'clock PM PDT, Rosaura Mata
           received from Access Counseling, Inc., an agency approved pursuant to 11 U.S.C.
            111 to provide credit counseling in the Eastern District of California, an
           individual [or group] briefing that complied with the provisions of 11 U.S.C.
           109(h) and 111.
           A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
           copy of the debt repayment plan is attached to this certificate.
           This counseling session was conducted by internet.




           Date:   April 4, 2019                          By:      /s/Edem Bohol


                                                          Name: Edem Bohol


                                                          Title:   Counselor




           * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
           Code are required to file with the United States Bankruptcy Court a completed certificate of
           counseling from the nonprofit budget and credit counseling agency that provided the individual
           the counseling services and a copy of the debt repayment plan, if any, developed through the
           credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
Filed 05/09/19                                                                          Case 19-11992                                                                                             Doc 1
     Fill in this information to identify your case:

     Debtor 1                  ROSAURA MATA
                               First Name                           Middle Name                         Last Name

     Debtor 2
     (Spouse if, filing)       First Name                           Middle Name                         Last Name

     United States Bankruptcy Court for the:                 EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                      amended filing



    Official Form 106Sum
    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.

     Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

     1.     Schedule A/B: Property (Official Form 106A/B)
            1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             255,865.00

            1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             114,187.74

            1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             370,052.74

     Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

     2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
            2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             243,254.00

     3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
            3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

            3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             114,534.20


                                                                                                                                      Your total liabilities $                  357,788.20


     Part 3:        Summarize Your Income and Expenses

     4.     Schedule I: Your Income (Official Form 106I)
            Copy your combined monthly income from line 12 of Schedule I................................................................................             $                4,775.36

     5.     Schedule J: Your Expenses (Official Form 106J)
            Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                4,765.85

     Part 4:        Answer These Questions for Administrative and Statistical Records

     6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
                 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

               Yes
     7.     What kind of debt do you have?

                    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                    household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                    the court with your other schedules.
     Official Form 106Sum                   Summary of Your Assets and Liabilities and Certain Statistical Information                                                     page 1 of 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
Filed 05/09/19                                                             Case 19-11992                                                              Doc 1
     Debtor 1      ROSAURA MATA                                                               Case number (if known)

     8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
           122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                              $               8,977.25


     9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                             Total claim
           From Part 4 on Schedule E/F, copy the following:

           9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

           9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

           9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

           9d. Student loans. (Copy line 6f.)                                                                 $              0.00

           9e. Obligations arising out of a separation agreement or divorce that you did not report as
               priority claims. (Copy line 6g.)                                                               $              0.00

           9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


           9g. Total. Add lines 9a through 9f.                                                           $                 0.00




    Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information           page 2 of 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy
Filed 05/09/19                                                                           Case 19-11992                                                                                   Doc 1
     Fill in this information to identify your case and this filing:

     Debtor 1                    ROSAURA MATA
                                 First Name                             Middle Name                     Last Name

     Debtor 2
     (Spouse, if filing)         First Name                             Middle Name                     Last Name

     United States Bankruptcy Court for the:                     EASTERN DISTRICT OF CALIFORNIA

     Case number                                                                                                                                                  Check if this is an
                                                                                                                                                                  amended filing



    Official Form 106A/B
    Schedule A/B: Property                                                                                                                                       12/15
    In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think
    it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
    more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

     Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

    1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

            No. Go to Part 2.

            Yes. Where is the property?




     1.1                                                                        What is the property? Check all that apply
            10405 ATAKAPA AVE.                                                         Single-family home                          Do not deduct secured claims or exemptions. Put the
            Street address, if available, or other description                                                                     amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                   Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                   Current value of the       Current value of the
            Bakersfield                       CA        93312-0000                     Land                                        entire property?           portion you own?
            City                              State          ZIP Code                  Investment property                                $255,865.00                 $255,865.00
                                                                                       Timeshare
                                                                                                                                   Describe the nature of your ownership interest
                                                                                       Other                                       (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one     a life estate), if known.
                                                                                       Debtor 1 only                               Fee simple
            Kern                                                                       Debtor 2 only
            County                                                                     Debtor 1 and Debtor 2 only
                                                                                                                                        Check if this is community property
                                                                                       At least one of the debtors and another          (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




     2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
        pages you have attached for Part 1. Write that number here...........................................................................=>                    $255,865.00

     Part 2: Describe Your Vehicles


    Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
    someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




    Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 1
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                               Best Case Bankruptcy
Filed 05/09/19                                                                        Case 19-11992                                                                               Doc 1
     Debtor 1         ROSAURA MATA                                                                                    Case number (if known)

    3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

            No
            Yes


      3.1    Make:       LEXUS                                     Who has an interest in the property? Check one              Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
             Model:      GS 350                                          Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
             Year:       2018                                            Debtor 2 only                                         Current value of the      Current value of the
             Approximate mileage:                   8,500                Debtor 1 and Debtor 2 only                            entire property?          portion you own?
             Other information:                                          At least one of the debtors and another
             LEASED VEHICLE
                                                                         Check if this is community property                                   $0.00                      $0.00
                                                                         (see instructions)



      3.2    Make:       HONDA                                     Who has an interest in the property? Check one              Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
             Model:      HR-V                                            Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
             Year:       2019                                            Debtor 2 only                                         Current value of the      Current value of the
             Approximate mileage:                      100               Debtor 1 and Debtor 2 only                            entire property?          portion you own?
             Other information:                                          At least one of the debtors and another


                                                                         Check if this is community property                            $28,000.00                $28,000.00
                                                                         (see instructions)




    4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

            No
            Yes



     5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
       .pages you have attached for Part 2. Write that number here.............................................................................=>              $28,000.00


     Part 3: Describe Your Personal and Household Items
     Do you own or have any legal or equitable interest in any of the following items?                                                                 Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.
    6. Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware
         No
            Yes. Describe.....

                                        HOUSEHOLD GOODS & FURNISHINGS                                                                                                  $500.00


    7. Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                  including cell phones, cameras, media players, games
          No
            Yes. Describe.....

                                        HOUSEHOLD ELECTRONICS                                                                                                          $500.00


    8. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                  other collections, memorabilia, collectibles
            No
            Yes. Describe.....

    Official Form 106A/B                                                       Schedule A/B: Property                                                                      page 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
Filed 05/09/19                                                                                    Case 19-11992                                                                     Doc 1
     Debtor 1        ROSAURA MATA                                                                                                Case number (if known)


    9. Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                 musical instruments
           No
           Yes. Describe.....

    10. Firearms
        Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           No
           Yes. Describe.....

    11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
          No
            Yes. Describe.....

                                              WEARING APPAREL                                                                                                            $300.00


    12. Jewelry
         Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
          No
            Yes. Describe.....

                                              JEWELRY                                                                                                                  $2,500.00


    13. Non-farm animals
        Examples: Dogs, cats, birds, horses
         No
            Yes. Describe.....

                                              2 DOGS                                                                                                                         $0.00


    14. Any other personal and household items you did not already list, including any health aids you did not list
           No
           Yes. Give specific information.....


     15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
         for Part 3. Write that number here ..............................................................................                                         $3,800.00


     Part 4: Describe Your Financial Assets
     Do you own or have any legal or equitable interest in any of the following?                                                                          Current value of the
                                                                                                                                                          portion you own?
                                                                                                                                                          Do not deduct secured
                                                                                                                                                          claims or exemptions.

    16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
           No
           Yes................................................................................................................

    17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                     institutions. If you have multiple accounts with the same institution, list each.
         No
         Yes........................                                   Institution name:

                                                            CHECKING &
                                                17.1.       SAVINGS                               WELLS FARGO                                                            $200.00



    Official Form 106A/B                                                                   Schedule A/B: Property                                                            page 3
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
Filed 05/09/19                                                                    Case 19-11992                                                                        Doc 1
     Debtor 1       ROSAURA MATA                                                                                    Case number (if known)

    18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes..................                    Institution or issuer name:

    19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
        and joint venture
           No
           Yes. Give specific information about them...................
                                     Name of entity:                                                                 % of ownership:

    20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific information about them
                                       Issuer name:

    21. Retirement or pension accounts
        Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
         No
            Yes. List each account separately.
                                    Type of account:                              Institution name:

                                             403B                                 CALSTRS                                                               $72,008.75


                                             403(b)                               NATIONAL LIFE GROUP ANNUITY                                             $9,954.02


    22. Security deposits and prepayments
        Your share of all unused deposits you have made so that you may continue service or use from a company
        Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
           No
           Yes. .....................                                             Institution name or individual:

    23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
           No
           Yes.............             Issuer name and description.

    24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
        26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

    25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
           No
           Yes. Give specific information about them...

    26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
        Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific information about them...

    27. Licenses, franchises, and other general intangibles
        Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific information about them...

     Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.



    Official Form 106A/B                                                  Schedule A/B: Property                                                                page 4
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
Filed 05/09/19                                                                           Case 19-11992                                                                                      Doc 1
     Debtor 1        ROSAURA MATA                                                                                                    Case number (if known)

    28. Tax refunds owed to you
          No
            Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




                                                                 2019 TAX REFUNDS                                                           FEDERAL & STATE                          $0.00


    29. Family support
        Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
            No
            Yes. Give specific information......


    30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
                  benefits; unpaid loans you made to someone else
            No
            Yes. Give specific information..

    31. Interests in insurance policies
         Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
          No
            Yes. Name the insurance company of each policy and list its value.
                                     Company name:                                                                       Beneficiary:                              Surrender or refund
                                                                                                                                                                   value:

                                                3 TEXAS LIFE INSURANCE COMPANY
                                                WHOLE LIFE INSURANCE POLICIES                                                                                                    $224.97


                                                TERM LIFE INSURANCE POLICY
                                                THROUGH EMPLOYER                                                                                                                     $0.00


    32. Any interest in property that is due you from someone who has died
        If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
        someone has died.
            No
            Yes. Give specific information..


    33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
        Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim.........

    34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
            No
            Yes. Describe each claim.........

    35. Any financial assets you did not already list
            No
            Yes. Give specific information..

     36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
         for Part 4. Write that number here.....................................................................................................................         $82,387.74


     Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

    37. Do you own or have any legal or equitable interest in any business-related property?
           No. Go to Part 6.
           Yes. Go to line 38.

    Official Form 106A/B                                                           Schedule A/B: Property                                                                            page 5
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                    Best Case Bankruptcy
Filed 05/09/19                                                                              Case 19-11992                                                                               Doc 1
     Debtor 1         ROSAURA MATA                                                                                                      Case number (if known)



     Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.


    46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


     Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


    53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership
            No
            Yes. Give specific information.........

     54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                               $0.00

     Part 8:        List the Totals of Each Part of this Form


     55. Part 1: Total real estate, line 2 ......................................................................................................................      $255,865.00
     56. Part 2: Total vehicles, line 5                                                                        $28,000.00
     57. Part 3: Total personal and household items, line 15                                                    $3,800.00
     58. Part 4: Total financial assets, line 36                                                               $82,387.74
     59. Part 5: Total business-related property, line 45                                                           $0.00
     60. Part 6: Total farm- and fishing-related property, line 52                                                  $0.00
     61. Part 7: Total other property not listed, line 54                                          +                $0.00

     62. Total personal property. Add lines 56 through 61...                                                 $114,187.74              Copy personal property total     $114,187.74

     63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                $370,052.74




    Official Form 106A/B                                                             Schedule A/B: Property                                                                      page 6
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                Best Case Bankruptcy
Filed 05/09/19                                                                   Case 19-11992                                                                              Doc 1
     Fill in this information to identify your case:

     Debtor 1                ROSAURA MATA
                             First Name                         Middle Name                 Last Name

     Debtor 2
     (Spouse if, filing)     First Name                         Middle Name                 Last Name

     United States Bankruptcy Court for the:             EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                Check if this is an
                                                                                                                                               amended filing


    Official Form 106C
    Schedule C: The Property You Claim as Exempt                                                                                                                     4/19

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
    the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
    needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name
    and case number (if known).

    For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
    specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
    any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
    funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
    exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
    to the applicable statutory amount.

     Part 1:        Identify the Property You Claim as Exempt

     1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

               You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

               You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

     2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
          Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
          Schedule A/B that lists this property                    portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

          10405 ATAKAPA AVE. Bakersfield,                                $255,865.00                              $100,000.00      C.C.P. § 704.730
          CA 93312 Kern County
          Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

          2018 LEXUS GS 350 8,500 miles                                         $0.00                                     $0.00    C.C.P. § 704.010
          LEASED VEHICLE
          Line from Schedule A/B: 3.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

          2019 HONDA HR-V 100 miles                                       $28,000.00                                 $3,325.00     C.C.P. § 704.010
          Line from Schedule A/B: 3.2
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

          HOUSEHOLD GOODS &                                                   $500.00                                  $500.00     C.C.P. § 704.020
          FURNISHINGS
          Line from Schedule A/B: 6.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

          HOUSEHOLD ELECTRONICS                                               $500.00                                  $500.00     C.C.P. § 704.020
          Line from Schedule A/B: 7.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit




    Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                       page 1 of 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
Filed 05/09/19                                                                   Case 19-11992                                                                               Doc 1
     Debtor 1    ROSAURA MATA                                                                                Case number (if known)

         Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
         Schedule A/B that lists this property                     portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

         WEARING APPAREL                                                     $300.00                                   $300.00        C.C.P. § 704.020
         Line from Schedule A/B: 11.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         JEWELRY                                                          $2,500.00                                  $2,500.00        C.C.P. § 704.040
         Line from Schedule A/B: 12.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         CHECKING & SAVINGS: WELLS                                           $200.00                                   $150.00        C.C.P. § 704.070
         FARGO
         Line from Schedule A/B: 17.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

         403B: CALSTRS                                                   $72,008.75                                $72,008.75         C.C.P. § 704.110
         Line from Schedule A/B: 21.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         403(b): NATIONAL LIFE GROUP                                      $9,954.02                                  $9,954.02        C.C.P. § 704.110
         ANNUITY
         Line from Schedule A/B: 21.2                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

         3 TEXAS LIFE INSURANCE                                              $224.97                                   $224.97        C.C.P. § 704.100
         COMPANY WHOLE LIFE INSURANCE
         POLICIES                                                                              100% of fair market value, up to
         Line from Schedule A/B: 31.1                                                          any applicable statutory limit

         TERM LIFE INSURANCE POLICY                                             $0.00                                     $0.00       C.C.P. § 704.100
         THROUGH EMPLOYER
         Line from Schedule A/B: 31.2                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit


     3. Are you claiming a homestead exemption of more than $170,350?
        (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
                No
                Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                       No
                       Yes




    Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                          page 2 of 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
Filed 05/09/19                                                                     Case 19-11992                                                                                     Doc 1
     Fill in this information to identify your case:

     Debtor 1                   ROSAURA MATA
                                First Name                      Middle Name                      Last Name

     Debtor 2
     (Spouse if, filing)        First Name                      Middle Name                      Last Name

     United States Bankruptcy Court for the:             EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                          Check if this is an
                                                                                                                                                         amended filing

    Official Form 106D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                            12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
    needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
    known).
    1. Do any creditors have claims secured by your property?
               No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
               Yes. Fill in all of the information below.
     Part 1:        List All Secured Claims
                                                                                                                   Column A               Column B                Column C
     2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for
     each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much     Amount of claim        Value of collateral     Unsecured
     as possible, list the claims in alphabetical order according to the creditor’s name.                          Do not deduct the      that supports this      portion
                                                                                                                   value of collateral.   claim                   If any
             Barber Automotive
     2.1                                              Describe the property that secures the claim:                    $25,578.00               $28,000.00                   $0.00
             Group
             Creditor's Name                          2019 HONDA HR-V 100 miles

                                                      As of the date you file, the claim is: Check all that
             4625 Wible Rd.                           apply.
             Bakersfield, CA 93313                        Contingent
             Number, Street, City, State & Zip Code       Unliquidated
                                                          Disputed
     Who owes the debt? Check one.                    Nature of lien. Check all that apply.
         Debtor 1 only                                    An agreement you made (such as mortgage or secured
         Debtor 2 only                                     car loan)
         Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
         At least one of the debtors and another          Judgment lien from a lawsuit
         Check if this claim relates to a                 Other (including a right to offset)   Purchase Money Security
         community debt

     Date debt was incurred                                    Last 4 digits of account number




    Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                         page 1 of 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
Filed 05/09/19                                                                      Case 19-11992                                                                                 Doc 1

     Debtor 1 ROSAURA MATA                                                                                      Case number (if known)
                 First Name                  Middle Name                       Last Name


     2.2   Sierra Pacific Mtg Co                      Describe the property that secures the claim:                   $217,676.00           $255,865.00                  $0.00
           Creditor's Name                            10405 ATAKAPA AVE. Bakersfield,
                                                      CA 93312 Kern County
                                                      As of the date you file, the claim is: Check all that
           1 Corporate Dr Ste 360                     apply.
           Lake Zurich, IL 60047                           Contingent
           Number, Street, City, State & Zip Code          Unliquidated
                                                           Disputed
     Who owes the debt? Check one.                    Nature of lien. Check all that apply.
        Debtor 1 only                                      An agreement you made (such as mortgage or secured
        Debtor 2 only                                       car loan)
        Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another            Judgment lien from a lawsuit
        Check if this claim relates to a                   Other (including a right to offset)   Deed of Trust
        community debt

                                   Opened
                                   05/18 Last
                                   Active
     Date debt was incurred        4/01/19                     Last 4 digits of account number         1500


           Toyota Financial
     2.3                                              Describe the property that secures the claim:                           $0.00               $0.00                  $0.00
           Services
           Creditor's Name                            2018 LEXUS GS 350 8,500 miles
                                                      LEASED VEHICLE
           Attn: Bankruptcy Dept
                                                      As of the date you file, the claim is: Check all that
           Po Box 8026                                apply.
           Cedar Rapids, IA 52409                          Contingent
           Number, Street, City, State & Zip Code          Unliquidated
                                                           Disputed
     Who owes the debt? Check one.                    Nature of lien. Check all that apply.
        Debtor 1 only                                      An agreement you made (such as mortgage or secured
        Debtor 2 only                                       car loan)
        Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another            Judgment lien from a lawsuit
        Check if this claim relates to a                   Other (including a right to offset)   Lease
        community debt

                                   Opened
                                   11/17 Last
                                   Active
     Date debt was incurred        2/15/19                     Last 4 digits of account number         V839



       Add the dollar value of your entries in Column A on this page. Write that number here:                                 $243,254.00
       If this is the last page of your form, add the dollar value totals from all pages.
       Write that number here:                                                                                                $243,254.00

     Part 2: List Others to Be Notified for a Debt That You Already Listed
     Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying
     to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one
     creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1,
     do not fill out or submit this page.




    Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                               page 2 of 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
Filed 05/09/19                                                                       Case 19-11992                                                                                         Doc 1
     Fill in this information to identify your case:

     Debtor 1                   ROSAURA MATA
                                First Name                        Middle Name                       Last Name

     Debtor 2
     (Spouse if, filing)        First Name                        Middle Name                       Last Name

     United States Bankruptcy Court for the:               EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                              Check if this is an
                                                                                                                                                             amended filing

    Official Form 106E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
    any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
    Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
    D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
    the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and case
    number (if known).
     Part 1:        List All of Your PRIORITY Unsecured Claims
     1.    Do any creditors have priority unsecured claims against you?

               No. Go to Part 2.
               Yes.
     Part 2:        List All of Your NONPRIORITY Unsecured Claims
     3.    Do any creditors have nonpriority unsecured claims against you?

               No. You have nothing to report in this part. Submit this form to the court with your other schedules.

               Yes.

     4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority unsecured
           claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more than one
           creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part 2.
                                                                                                                                                                Total claim

     4.1          Amex                                                    Last 4 digits of account number          2913                                                    $6,093.00
                  Nonpriority Creditor's Name
                  Correspondence/Bankruptcy                                                                        Opened 12/17 Last Active
                  Po Box 981540                                           When was the debt incurred?              3/11/19
                  El Paso, TX 79998
                  Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
                  Who incurred the debt? Check one.
                                                                                Contingent
                      Debtor 1 only
                                                                                Unliquidated
                      Debtor 2 only
                                                                                Disputed
                      Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
                      At least one of the debtors and another                   Student loans
                      Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                         report as priority claims

                      No                                                        Debts to pension or profit-sharing plans, and other similar debts

                      Yes                                                       Other. Specify   Credit Card




    Official Form 106 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 1 of 4
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Filed 05/09/19                                                                    Case 19-11992                                                                               Doc 1
     Debtor 1 ROSAURA MATA                                                                                   Case number (if known)

     4.2      Bank Of America                                            Last 4 digits of account number       6817                                           $22,569.00
              Nonpriority Creditor's Name
              4909 Savarese Circle                                                                             Opened 10/14 Last Active
              Fl1-908-01-50                                              When was the debt incurred?           12/03/18
              Tampa, FL 33634
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                                                                            Contingent
                  Debtor 1 only
                                                                            Unliquidated
                  Debtor 2 only
                                                                            Disputed
                  Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
                  At least one of the debtors and another                   Student loans
                  Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit Card


     4.3      Bank Of America                                            Last 4 digits of account number       0154                                             $5,011.00
              Nonpriority Creditor's Name
              4909 Savarese Circle                                                                             Opened 09/18 Last Active
              Fl1-908-01-50                                              When was the debt incurred?           12/03/18
              Tampa, FL 33634
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                                                                            Contingent
                  Debtor 1 only
                                                                            Unliquidated
                  Debtor 2 only
                                                                            Disputed
                  Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
                  At least one of the debtors and another                   Student loans
                  Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit Card


     4.4      Brclysbankde                                               Last 4 digits of account number       6614                                           $36,944.00
              Nonpriority Creditor's Name
                                                                                                               Opened 10/18 Last Active
              125 S West St                                              When was the debt incurred?           12/06/18
              Wilmington, DE 19801
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                                                                            Contingent
                  Debtor 1 only
                                                                            Unliquidated
                  Debtor 2 only
                                                                            Disputed
                  Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
                  At least one of the debtors and another                   Student loans
                  Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Unsecured




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 4
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Filed 05/09/19                                                                    Case 19-11992                                                                               Doc 1
     Debtor 1 ROSAURA MATA                                                                                   Case number (if known)

     4.5      Chase Card Services                                        Last 4 digits of account number       1913                                           $22,231.20
              Nonpriority Creditor's Name
              Attn: Bankruptcy                                                                                 Opened 10/14 Last Active
              Po Box 15298                                               When was the debt incurred?           11/05/18
              Wilmington, DE 19850
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                                                                            Contingent
                  Debtor 1 only
                                                                            Unliquidated
                  Debtor 2 only
                                                                            Disputed
                  Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
                  At least one of the debtors and another                   Student loans
                  Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit Card


     4.6      Citicards Cbna                                             Last 4 digits of account number       6474                                           $12,128.00
              Nonpriority Creditor's Name
              Citi Bank                                                                                        Opened 05/18 Last Active
              Po Box 6077                                                When was the debt incurred?           11/13/18
              Sioux Falls, SD 57117
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                                                                            Contingent
                  Debtor 1 only
                                                                            Unliquidated
                  Debtor 2 only
                                                                            Disputed
                  Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
                  At least one of the debtors and another                   Student loans
                  Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit Card


     4.7      Kohls/Capital One                                          Last 4 digits of account number       9582                                             $1,155.00
              Nonpriority Creditor's Name
              Kohls Credit                                                                                     Opened 11/17 Last Active
              Po Box 3120                                                When was the debt incurred?           8/11/18
              Milwaukee, WI 53201
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                                                                            Contingent
                  Debtor 1 only
                                                                            Unliquidated
                  Debtor 2 only
                                                                            Disputed
                  Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
                  At least one of the debtors and another                   Student loans
                  Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Charge Account




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 4
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Filed 05/09/19                                                                    Case 19-11992                                                                                        Doc 1
     Debtor 1 ROSAURA MATA                                                                                   Case number (if known)

     4.8       PERFECT HOME PRODUCTS                                     Last 4 digits of account number        8753                                                     $8,403.00
               Nonpriority Creditor's Name
               7800 MEANY AVE., #E                                       When was the debt incurred?
               Bakersfield, CA 93308
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                                                                             Contingent
                  Debtor 1 only
                                                                             Unliquidated
                  Debtor 2 only
                                                                             Disputed
                  Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
                  At least one of the debtors and another                    Student loans
                  Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                  No                                                         Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                        Other. Specify


     Part 3:     List Others to Be Notified About a Debt That You Already Listed
    5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency is
       trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have
       more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.
     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     ARS National Services, Inc.                                   Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
     PO Box 469100                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
     Escondido, CA 92046-9100
                                                                   Last 4 digits of account number


     Part 4:     Add the Amounts for Each Type of Unsecured Claim
    6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each type
       of unsecured claim.

                                                                                                                                       Total Claim
                            6a.   Domestic support obligations                                                  6a.        $                           0.00
     Total claims
      from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.        $                           0.00
                            6c.   Claims for death or personal injury while you were intoxicated                6c.        $                           0.00
                            6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.        $                           0.00

                            6e.   Total Priority. Add lines 6a through 6d.                                      6e.        $                           0.00

                                                                                                                                       Total Claim
                            6f.   Student loans                                                                 6f.        $                           0.00
     Total claims
      from Part 2           6g.   Obligations arising out of a separation agreement or divorce that you
                                  did not report as priority claims                                             6g.        $                           0.00
                            6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.        $                           0.00
                            6i.   Other. Add all other nonpriority unsecured claims. Write that amount here. 6i.           $                     114,534.20

                            6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.        $                     114,534.20




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 4 of 4
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Filed 05/09/19                                                                  Case 19-11992                                                                          Doc 1
     Fill in this information to identify your case:

     Debtor 1                  ROSAURA MATA
                               First Name                         Middle Name           Last Name

     Debtor 2
     (Spouse if, filing)       First Name                         Middle Name           Last Name

     United States Bankruptcy Court for the:               EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                            Check if this is an
                                                                                                                                           amended filing



    Official Form 106G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                                    12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
    additional pages, write your name and case number (if known).

    1.     Do you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
                  Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

    2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
           example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
           and unexpired leases.


            Person or company with whom you have the contract or lease                     State what the contract or lease is for
                               Name, Number, Street, City, State and ZIP Code

         2.1       Toyota Financial Services                                                  2018 LEXUS GS 350 8,500 miles
                   Po Box 8026
                   Cedar Rapids, IA 52409




    Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
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Filed 05/09/19                                                                         Case 19-11992                                                                    Doc 1
     Fill in this information to identify your case:

     Debtor 1                     ROSAURA MATA
                                  First Name                           Middle Name            Last Name

     Debtor 2
     (Spouse if, filing)          First Name                           Middle Name            Last Name

     United States Bankruptcy Court for the:                   EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                              Check if this is an
                                                                                                                                             amended filing


    Official Form 106H
    Schedule H: Your Codebtors                                                                                                                               12/15

    Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
    people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
    fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
    your name and case number (if known). Answer every question.

           1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

               No
               Yes

           2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
           Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

               No. Go to line 3.
               Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                           No
                           Yes.


                             In which community state or territory did you live?              California      . Fill in the name and current address of that person.
                             DOMINGO MATA
                             11116 VISTA DEL LUNA
                             Bakersfield, CA 93311
                             Name of your spouse, former spouse, or legal equivalent
                             Number, Street, City, State & Zip Code

                             In which community state or territory did you live?              California      . Fill in the name and current address of that person.
                             JOSE MARTINEZ
                             8127 WHITEWATER DR., #3
                             Bakersfield, CA 93312
                             Name of your spouse, former spouse, or legal equivalent
                             Number, Street, City, State & Zip Code

       3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
          in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
          Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to
          fill out Column 2.

                    Column 1: Your codebtor                                                                   Column 2: The creditor to whom you owe the debt
                    Name, Number, Street, City, State and ZIP Code                                            Check all schedules that apply:

        3.1                                                                                                      Schedule D, line
                    Name
                                                                                                                 Schedule E/F, line
                                                                                                                 Schedule G, line
                    Number              Street
                    City                                       State                           ZIP Code




        3.2                                                                                                      Schedule D, line
                    Name
                                                                                                                 Schedule E/F, line
                                                                                                                 Schedule G, line

    Official Form 106H                                                                    Schedule H: Your Codebtors                                      Page 1 of 2
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Filed 05/09/19                                                           Case 19-11992                                                                Doc 1

     Debtor 1 ROSAURA MATA                                                                  Case number (if known)


                Additional Page to List More Codebtors
                 Column 1: Your codebtor                                                          Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:

                 Number             Street
                 City                                     State                  ZIP Code




    Official Form 106H                                                      Schedule H: Your Codebtors                                  Page 2 of 2
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Filed 05/09/19                                                         Case 19-11992                                                                        Doc 1



     Fill in this information to identify your case:

     Debtor 1                      ROSAURA MATA

     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the:       EASTERN DISTRICT OF CALIFORNIA

     Case number                                                                                           Check if this is:
     (If known)
                                                                                                              An amended filing
                                                                                                              A supplement showing postpetition chapter
                                                                                                              13 income as of the following date:

     Official Form 106I                                                                                       MM / DD/ YYYY
     Schedule I: Your Income                                                                                                                          12/15
    Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
    spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
    attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

     Part 1:               Describe Employment

     1.     Fill in your employment
            information.                                                Debtor 1                                 Debtor 2 or non-filing spouse

            If you have more than one job,                                Employed                                  Employed
            attach a separate page with           Employment status
                                                                          Not employed                              Not employed
            information about additional
            employers.
                                                  Occupation            TEACHER
            Include part-time, seasonal, or
            self-employed work.                   Employer's name       Bakersfield City Schools

            Occupation may include student        Employer's address
                                                                        1300 Baker Street
            or homemaker, if it applies.
                                                                        Bakersfield, CA 93305

                                                  How long employed there?         2 YEARS

     Part 2:               Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.

    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
    more space, attach a separate sheet to this form.

                                                                                                         For Debtor 1       For Debtor 2 or
                                                                                                                            non-filing spouse

            List monthly gross wages, salary, and commissions (before all payroll
     2.     deductions). If not paid monthly, calculate what the monthly wage would be.        2.    $        6,719.93      $               N/A

     3.     Estimate and list monthly overtime pay.                                            3.   +$             0.00     +$              N/A

     4.     Calculate gross Income. Add line 2 + line 3.                                       4.    $      6,719.93            $        N/A




    Official Form 106I                                                       Schedule I: Your Income                                               page 1
Filed 05/09/19                                                       Case 19-11992                                                                             Doc 1


     Debtor 1   ROSAURA MATA                                                                          Case number (if known)



                                                                                                       For Debtor 1            For Debtor 2 or
                                                                                                                               non-filing spouse
          Copy line 4 here                                                                     4.      $         6,719.93      $             N/A

     5.   List all payroll deductions:
          5a.   Tax, Medicare, and Social Security deductions                                  5a.     $           945.46      $               N/A
          5b.   Mandatory contributions for retirement plans                                   5b.     $           705.95      $               N/A
          5c.   Voluntary contributions for retirement plans                                   5c.     $             0.00      $               N/A
          5d.   Required repayments of retirement fund loans                                   5d.     $             0.00      $               N/A
          5e.   Insurance                                                                      5e.     $           180.96      $               N/A
          5f.   Domestic support obligations                                                   5f.     $             0.00      $               N/A
          5g.   Union dues                                                                     5g.     $           112.20      $               N/A
          5h.   Other deductions. Specify:                                                     5h.+    $             0.00 +    $               N/A
     6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,944.57      $               N/A
     7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          4,775.36      $               N/A
     8.   List all other income regularly received:
          8a. Net income from rental property and from operating a business,
                 profession, or farm
                 Attach a statement for each property and business showing gross
                 receipts, ordinary and necessary business expenses, and the total
                 monthly net income.                                                           8a.     $              0.00     $               N/A
          8b. Interest and dividends                                                           8b.     $              0.00     $               N/A
          8c. Family support payments that you, a non-filing spouse, or a dependent
                 regularly receive
                 Include alimony, spousal support, child support, maintenance, divorce
                 settlement, and property settlement.                                          8c.     $              0.00     $               N/A
          8d. Unemployment compensation                                                        8d.     $              0.00     $               N/A
          8e. Social Security                                                                  8e.     $              0.00     $               N/A
          8f.    Other government assistance that you regularly receive
                 Include cash assistance and the value (if known) of any non-cash assistance
                 that you receive, such as food stamps (benefits under the Supplemental
                 Nutrition Assistance Program) or housing subsidies.
                 Specify:                                                                      8f.  $                 0.00   $                 N/A
          8g. Pension or retirement income                                                     8g. $                  0.00   $                 N/A
          8h. Other monthly income. Specify:                                                   8h.+ $                 0.00 + $                 N/A

     9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $               0.00     $               N/A

     10. Calculate monthly income. Add line 7 + line 9.                                    10. $           4,775.36 + $             N/A = $          4,775.36
         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
     11. State all other regular contributions to the expenses that you list in Schedule J.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
         other friends or relatives.
         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
         Specify:                                                                                                                 11. +$                 0.00

     12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
         Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
         applies                                                                                                                     12.   $         4,775.36
                                                                                                                                           Combined
                                                                                                                                           monthly income
     13. Do you expect an increase or decrease within the year after you file this form?
               No.
               Yes. Explain: DEBTOR IS PAID 10 MONTHS A YEAR, SO INCOME ABOVE IS A MONTHLY AVERAGE.




    Official Form 106I                                                     Schedule I: Your Income                                                    page 2
Filed 05/09/19                                                               Case 19-11992                                                                          Doc 1



      Fill in this information to identify your case:

      Debtor 1                 ROSAURA MATA                                                                       Check if this is:
                                                                                                                      An amended filing
      Debtor 2                                                                                                        A supplement showing postpetition chapter
      (Spouse, if filing)                                                                                             13 expenses as of the following date:

      United States Bankruptcy Court for the:   EASTERN DISTRICT OF CALIFORNIA                                             MM / DD / YYYY

      Case number
      (If known)




      Official Form 106J
      Schedule J: Your Expenses                                                                                                            12/15
      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
      information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
      number (if known). Answer every question.

      Part 1:   Describe Your Household
      1. Is this a joint case?
                 No. Go to line 2.
                 Yes. Does Debtor 2 live in a separate household?
                            No
                            Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

      2.    Do you have dependents?               No
            Do not list Debtor 1                  Yes.
                                                         Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
            and Debtor 2.                                each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

            Do not state the                                                                                                                       No
            dependents names.                                                            SON                                  14                   Yes
                                                                                                                                                   No
                                                                                         DAUGHTER                             19                   Yes
                                                                                                                                                   No
                                                                                                                                                   Yes
                                                                                                                                                   No
                                                                                                                                                   Yes
      3.    Do your expenses include                     No
            expenses of people other than
            yourself and your dependents?                Yes

      Part 2:    Estimate Your Ongoing Monthly Expenses
      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
      expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
      applicable date.

      Include expenses paid for with non-cash government assistance if you know
      the value of such assistance and have included it on Schedule I: Your Income
      (Official Form 106I.)                                                                                                        Your expenses


      4.    The rental or home ownership expenses for your residence. Include first mortgage
            payments and any rent for the ground or lot.                                                          4. $                             1,586.53

            If not included in line 4:

            4a. Real estate taxes                                                                                4a.   $                              0.00
            4b. Property, homeowner’s, or renter’s insurance                                                     4b.   $                              0.00
            4c. Home maintenance, repair, and upkeep expenses                                                    4c.   $                            100.00
            4d. Homeowner’s association or condominium dues                                                      4d.   $                              0.00
      5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                              0.00




      Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
Filed 05/09/19                                                              Case 19-11992                                                                                    Doc 1


      Debtor 1     ROSAURA MATA                                                                               Case number (if known)

      6.    Utilities:
            6a. Electricity, heat, natural gas                                                    6a. $                                                    150.00
            6b. Water, sewer, garbage collection                                                  6b. $                                                     65.00
            6c. Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                                    365.00
            6d. Other. Specify:                                                                   6d. $                                                      0.00
      7.    Food and housekeeping supplies                                                          7. $                                                   400.00
      8.    Childcare and children’s education costs                                                8. $                                                     0.00
      9.    Clothing, laundry, and dry cleaning                                                     9. $                                                   125.00
      10.   Personal care products and services                                                   10. $                                                     90.00
      11.   Medical and dental expenses                                                           11. $                                                     50.00
      12.   Transportation. Include gas, maintenance, bus or train fare.
            Do not include car payments.                                                          12. $                                                    250.00
      13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                      0.00
      14.   Charitable contributions and religious donations                                      14. $                                                     25.00
      15.   Insurance.
            Do not include insurance deducted from your pay or included in lines 4 or 20.
            15a. Life insurance                                                                  15a. $                                                     25.00
            15b. Health insurance                                                                15b. $                                                      0.00
            15c. Vehicle insurance                                                               15c. $                                                    344.21
            15d. Other insurance. Specify:                                                       15d. $                                                      0.00
      16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
            Specify:                                                                              16. $                                                       0.00
      17.   Installment or lease payments:
            17a. Car payments for Vehicle 1                                                      17a. $                                                    680.01
            17b. Car payments for Vehicle 2                                                      17b. $                                                    510.10
            17c. Other. Specify:                                                                 17c. $                                                      0.00
            17d. Other. Specify:                                                                 17d. $                                                      0.00
      18.   Your payments of alimony, maintenance, and support that you did not report as
            deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).       18. $                                                       0.00
      19.   Other payments you make to support others who do not live with you.                        $                                                      0.00
            Specify:                                                                              19.
      20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
            20a. Mortgages on other property                                                     20a. $                                                       0.00
            20b. Real estate taxes                                                               20b. $                                                       0.00
            20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                       0.00
            20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                       0.00
            20e. Homeowner’s association or condominium dues                                     20e. $                                                       0.00
      21.   Other: Specify:                                                                       21. +$                                                      0.00
      22. Calculate your monthly expenses
          22a. Add lines 4 through 21.                                                                                       $                       4,765.85
          22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
            22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                       4,765.85
      23. Calculate your monthly net income.
          23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                               4,775.36
          23b. Copy your monthly expenses from line 22c above.                                                     23b. -$                              4,765.85

            23c. Subtract your monthly expenses from your monthly income.
                 The result is your monthly net income.                                                            23c. $                                     9.51

      24. Do you expect an increase or decrease in your expenses within the year after you file this form?
            For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
            modification to the terms of your mortgage?
               No.
               Yes.             Explain here:




      Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
Filed 05/09/19                                                                Case 19-11992                                                                             Doc 1




     Fill in this information to identify your case:

     Debtor 1                 ROSAURA MATA
                              First Name                        Middle Name             Last Name

     Debtor 2
     (Spouse if, filing)      First Name                        Middle Name             Last Name

     United States Bankruptcy Court for the:             EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                           Check if this is an
                                                                                                                                          amended filing



    Official Form 106Dec
    Declaration About an Individual Debtor's Schedules                                                                                                          12/15

    If two married people are filing together, both are equally responsible for supplying correct information.

    You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
    obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
    years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


            Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                    No

                    Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                    Declaration, and Signature (Official Form 119)


           Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
           that they are true and correct.

            X /s/ ROSAURA MATA                                                          X
                  ROSAURA MATA                                                              Signature of Debtor 2
                  Signature of Debtor 1

                  Date     May 7, 2019                                                      Date




    Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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Filed 05/09/19                                                                  Case 19-11992                                                                                Doc 1



     Fill in this information to identify your case:

     Debtor 1                 ROSAURA MATA
                              First Name                        Middle Name                  Last Name

     Debtor 2
     (Spouse if, filing)      First Name                        Middle Name                  Last Name

     United States Bankruptcy Court for the:             EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                   Check if this is an
                                                                                                                                                  amended filing



    Official Form 107
    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 4/19
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
    number (if known). Answer every question.

     Part 1:        Give Details About Your Marital Status and Where You Lived Before

    1.     What is your current marital status?

                  Married
                  Not married

    2.     During the last 3 years, have you lived anywhere other than where you live now?

                  No
                  Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

            Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                               Dates Debtor 2
                                                                    lived there                                                                       lived there
            6104 BAY CLUB CT.                                       From-To:                        Same as Debtor 1                                     Same as Debtor 1
            Bakersfield, CA 93312                                   2011 - 5/4/18                                                                     From-To:




    3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
    states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

                  No
                  Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

     Part 2         Explain the Sources of Your Income

    4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
           Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
           If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

                  No
                  Yes. Fill in the details.

                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income                   Sources of income              Gross income
                                                       Check all that apply.            (before deductions and         Check all that apply.          (before deductions
                                                                                        exclusions)                                                   and exclusions)

     From January 1 of current year until                 Wages, commissions,                       $26,691.76            Wages, commissions,
     the date you filed for bankruptcy:                                                                                bonuses, tips
                                                       bonuses, tips
                                                           Operating a business                                            Operating a business

    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1

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Filed 05/09/19                                                                  Case 19-11992                                                                                  Doc 1
     Debtor 1      ROSAURA MATA                                                                                 Case number (if known)



                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income                   Sources of income                Gross income
                                                       Check all that apply.            (before deductions and         Check all that apply.            (before deductions
                                                                                        exclusions)                                                     and exclusions)

     For last calendar year:                              Wages, commissions,                      $103,992.31            Wages, commissions,
     (January 1 to December 31, 2018 )                                                                                 bonuses, tips
                                                       bonuses, tips
                                                           Operating a business                                            Operating a business


     For the calendar year before that:                   Wages, commissions,                       $92,529.00            Wages, commissions,
     (January 1 to December 31, 2017 )                                                                                 bonuses, tips
                                                       bonuses, tips
                                                           Operating a business                                            Operating a business


    5.    Did you receive any other income during this year or the two previous calendar years?
          Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
          unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
          gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

          List each source and the gross income from each source separately. Do not include income that you listed in line 4.

                No
                Yes. Fill in the details.

                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income from              Sources of income                Gross income
                                                       Describe below.                  each source                    Describe below.                  (before deductions
                                                                                        (before deductions and                                          and exclusions)
                                                                                        exclusions)

     Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

    6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
               No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                     individual primarily for a personal, family, or household purpose.”

                        During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                             No.       Go to line 7.
                             Yes     List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                     paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                     not include payments to an attorney for this bankruptcy case.
                         * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

                Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                             No.       Go to line 7.
                             Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                       include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                                       an attorney for this bankruptcy case.


           Creditor's Name and Address                              Dates of payment             Total amount          Amount you        Was this payment for ...
                                                                                                         paid            still owe
           Sierra Pacific Mtg Co                                    $1,586.53                       $4,759.59         $217,676.00              Mortgage
           1 Corporate Dr Ste 360                                   MONTHLY                                                                    Car
           Lake Zurich, IL 60047
                                                                                                                                               Credit Card
                                                                                                                                               Loan Repayment
                                                                                                                                               Suppliers or vendors
                                                                                                                                               Other




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2

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Filed 05/09/19                                                                  Case 19-11992                                                                                Doc 1
     Debtor 1      ROSAURA MATA                                                                                 Case number (if known)



           Creditor's Name and Address                              Dates of payment             Total amount          Amount you          Was this payment for ...
                                                                                                         paid            still owe
           Toyota Financial Services                                $680.01                         $2,040.03                     $0.00      Mortgage
           Po Box 8026                                              MONTHLY                                                                  Car
           Cedar Rapids, IA 52409
                                                                                                                                             Credit Card
                                                                                                                                             Loan Repayment
                                                                                                                                             Suppliers or vendors
                                                                                                                                             Other


    7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
          Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
          corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
          including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child
          support and alimony.

                No
                Yes. List all payments to an insider.
           Insider's Name and Address                               Dates of payment             Total amount          Amount you          Reason for this payment
                                                                                                         paid            still owe

    8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
          insider?
          Include payments on debts guaranteed or cosigned by an insider.

                No
                Yes. List all payments to an insider
           Insider's Name and Address                               Dates of payment             Total amount          Amount you          Reason for this payment
                                                                                                         paid            still owe         Include creditor's name

     Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

    9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
          List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
          modifications, and contract disputes.

                No
                Yes. Fill in the details.
           Case title                                               Nature of the case          Court or agency                            Status of the case
           Case number

    10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
        Check all that apply and fill in the details below.

                No. Go to line 11.
                Yes. Fill in the information below.
           Creditor Name and Address                                Describe the Property                                           Date                        Value of the
                                                                                                                                                                   property
                                                                    Explain what happened

    11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
        accounts or refuse to make a payment because you owed a debt?
                No
                Yes. Fill in the details.
           Creditor Name and Address                                Describe the action the creditor took                           Date action was                 Amount
                                                                                                                                    taken

    12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
        court-appointed receiver, a custodian, or another official?

                No
                Yes


    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 3

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     Debtor 1      ROSAURA MATA                                                                                 Case number (if known)



     Part 5:     List Certain Gifts and Contributions

    13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
                No
                Yes. Fill in the details for each gift.
           Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                 Value
           per person                                                                                                             the gifts

           Person to Whom You Gave the Gift and
           Address:

    14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
                No
                Yes. Fill in the details for each gift or contribution.
           Gifts or contributions to charities that total                Describe what you contributed                            Dates you                      Value
           more than $600                                                                                                         contributed
           Charity's Name
           Address (Number, Street, City, State and ZIP Code)

     Part 6:     List Certain Losses

    15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
        disaster, or gambling?

                No
                Yes. Fill in the details.
           Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
           how the loss occurred                                Include the amount that insurance has paid. List                  loss                           lost
                                                                pending insurance claims on line 33 of Schedule A/B:
                                                                Property.

     Part 7:     List Certain Payments or Transfers

    16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
        consulted about seeking bankruptcy or preparing a bankruptcy petition?
        Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

                No
                Yes. Fill in the details.
           Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
           Address                                                       transferred                                              or transfer was           payment
           Email or website address                                                                                               made
           Person Who Made the Payment, if Not You
           Williams & Williams, Inc.                                     Attorney Fees                                            2019                     $1,600.00
           2441 G St., Ste. A
           Bakersfield, CA 93301
           bob@kernbankruptcy.law


    17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
        promised to help you deal with your creditors or to make payments to your creditors?
        Do not include any payment or transfer that you listed on line 16.

                No
                Yes. Fill in the details.
           Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
           Address                                                       transferred                                              or transfer was           payment
                                                                                                                                  made




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4

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     Debtor 1      ROSAURA MATA                                                                                 Case number (if known)



    18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
        transferred in the ordinary course of your business or financial affairs?
        Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
        include gifts and transfers that you have already listed on this statement.
             No
                Yes. Fill in the details.
           Person Who Received Transfer                                  Description and value of                   Describe any property or     Date transfer was
           Address                                                       property transferred                       payments received or debts   made
                                                                                                                    paid in exchange
           Person's relationship to you
           PRIVATE PARTY                                                 2011 HONDA CRV $1000                       CASH                         2018


           NO RELATION


    19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
        beneficiary? (These are often called asset-protection devices.)
                No
                Yes. Fill in the details.
           Name of trust                                                 Description and value of the property transferred                       Date Transfer was
                                                                                                                                                 made

     Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

    20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
        sold, moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
        houses, pension funds, cooperatives, associations, and other financial institutions.
                No
                Yes. Fill in the details.
           Name of Financial Institution and                        Last 4 digits of              Type of account or        Date account was          Last balance
           Address (Number, Street, City, State and ZIP             account number                instrument                closed, sold,         before closing or
           Code)                                                                                                            moved, or                      transfer
                                                                                                                            transferred

    21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
        cash, or other valuables?

                No
                Yes. Fill in the details.
           Name of Financial Institution                                 Who else had access to it?             Describe the contents              Do you still
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                            have it?
                                                                         State and ZIP Code)


    22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

                No
                Yes. Fill in the details.
           Name of Storage Facility                                      Who else has or had access             Describe the contents              Do you still
           Address (Number, Street, City, State and ZIP Code)            to it?                                                                    have it?
                                                                         Address (Number, Street, City,
                                                                         State and ZIP Code)

     Part 9:       Identify Property You Hold or Control for Someone Else

    23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
        for someone.

                No
                Yes. Fill in the details.
           Owner's Name                                                  Where is the property?                 Describe the property                          Value
           Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                         Code)


    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 5

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     Debtor 1      ROSAURA MATA                                                                                     Case number (if known)



     Part 10:    Give Details About Environmental Information

    For the purpose of Part 10, the following definitions apply:

          Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
          toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
          regulations controlling the cleanup of these substances, wastes, or material.
          Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
          to own, operate, or utilize it, including disposal sites.
          Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
          hazardous material, pollutant, contaminant, or similar term.

    Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

    24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

                No
                Yes. Fill in the details.
           Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                         ZIP Code)

    25. Have you notified any governmental unit of any release of hazardous material?

                No
                Yes. Fill in the details.
           Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                         ZIP Code)

    26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

                No
                Yes. Fill in the details.
           Case Title                                                    Court or agency                            Nature of the case                   Status of the
           Case Number                                                   Name                                                                            case
                                                                         Address (Number, Street, City,
                                                                         State and ZIP Code)

     Part 11:    Give Details About Your Business or Connections to Any Business

    27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                    A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                    A member of a limited liability company (LLC) or limited liability partnership (LLP)

                    A partner in a partnership

                    An officer, director, or managing executive of a corporation

                    An owner of at least 5% of the voting or equity securities of a corporation

                No. None of the above applies. Go to Part 12.
                Yes. Check all that apply above and fill in the details below for each business.
           Business Name                                            Describe the nature of the business                  Employer Identification number
           Address                                                                                                       Do not include Social Security number or ITIN.
           (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                         Dates business existed




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 6

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     Debtor 1      ROSAURA MATA                                                                                 Case number (if known)



    28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
        institutions, creditors, or other parties.

                 No
                 Yes. Fill in the details below.
            Name                                                    Date Issued
            Address
            (Number, Street, City, State and ZIP Code)

     Part 12:     Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
    are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
    with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

     /s/ ROSAURA MATA
     ROSAURA MATA                                                           Signature of Debtor 2
     Signature of Debtor 1

     Date      May 7, 2019                                                  Date

    Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
       No
       Yes

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
       No
       Yes. Name of Person                   . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 7

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Filed 05/09/19                                                                Case 19-11992                                                                   Doc 1


     Fill in this information to identify your case:

     Debtor 1                  ROSAURA MATA
                               First Name                       Middle Name             Last Name

     Debtor 2
     (Spouse if, filing)       First Name                       Middle Name             Last Name

     United States Bankruptcy Court for the:             EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                    Check if this is an
                                                                                                                                   amended filing



    Official Form 108
    Statement of Intention for Individuals Filing Under Chapter 7                                                                                  12/15


    If you are an individual filing under chapter 7, you must fill out this form if:
        creditors have claims secured by your property, or
      you have leased personal property and the lease has not expired.
    You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
            whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
            on the form

    If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
             sign and date the form.

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
            write your name and case number (if known).

     Part 1:        List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.
        Identify the creditor and the property that is collateral What do you intend to do with the property that    Did you claim the property
                                                                  secures a debt?                                    as exempt on Schedule C?


        Creditor's         Barber Automotive Group                             Surrender the property.                            No
        name:                                                                  Retain the property and redeem it.
                                                                               Retain the property and enter into a               Yes
        Description of        2019 HONDA HR-V 100 miles                        Reaffirmation Agreement.
        property                                                               Retain the property and [explain]:
        securing debt:



        Creditor's         Sierra Pacific Mtg Co                               Surrender the property.                            No
        name:                                                                  Retain the property and redeem it.
                                                                               Retain the property and enter into a               Yes
        Description of 10405 ATAKAPA AVE.                                      Reaffirmation Agreement.
        property       Bakersfield, CA 93312 Kern                              Retain the property and [explain]:
        securing debt: County

     Part 2:   List Your Unexpired Personal Property Leases
    For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
    in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
    You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                      Will the lease be assumed?




    Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                                 page 1

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     Debtor 1      ROSAURA MATA                                                                         Case number (if known)


     Lessor's name:               Toyota Financial Services                                                                      No

                                                                                                                                 Yes

     Description of leased        2018 LEXUS GS 350 8,500 miles
     Property:



     Part 3:      Sign Below

    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
    property that is subject to an unexpired lease.

     X     /s/ ROSAURA MATA                                                            X
           ROSAURA MATA                                                                    Signature of Debtor 2
           Signature of Debtor 1

           Date        May 7, 2019                                                     Date




    Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                          page 2

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     Fill in this information to identify your case:                                                      Check one box only as directed in this form and in Form
                                                                                                          122A-1Supp:
     Debtor 1              ROSAURA MATA
     Debtor 2                                                                                                     1. There is no presumption of abuse
     (Spouse, if filing)
                                                                                                                  2. The calculation to determine if a presumption of abuse
     United States Bankruptcy Court for the:            Eastern District of California
                                                                                                                     applies will be made under Chapter 7 Means Test
                                                                                                                     Calculation (Official Form 122A-2).
     Case number
     (if known)
                                                                                                                  3. The Means Test does not apply now because of
                                                                                                                      qualified military service but it could apply later.
                                                                                                                  Check if this is an amended filing
    Official Form 122A - 1
    Chapter 7 Statement of Your Current Monthly Income                                                                                                                       12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
    separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
    number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
    military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

     Part 1:          Calculate Your Current Monthly Income

      1. What is your marital and filing status? Check one only.
                  Not married. Fill out Column A, lines 2-11.
                  Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
                  Married and your spouse is NOT filing with you. You and your spouse are:
                     Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                     Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                     penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                     living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
        101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
        6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses own
        the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                              Column A                   Column B
                                                                                                              Debtor 1                   Debtor 2 or
                                                                                                                                         non-filing spouse
      2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before
         all payroll deductions).                                                           $                            8,977.25        $
      3. Alimony and maintenance payments. Do not include payments from a spouse if
         Column B is filled in.                                                             $                                 0.00       $
      4. All amounts from any source which are regularly paid for household expenses
         of you or your dependents, including child support. Include regular contributions
         from an unmarried partner, members of your household, your dependents, parents,
         and roommates. Include regular contributions from a spouse only if Column B is not
         filled in. Do not include payments you listed on line 3.                           $                                 0.00       $
      5. Net income from operating a business, profession, or farm
                                                                          Debtor 1
            Gross receipts (before all deductions)                            $      0.00
            Ordinary and necessary operating expenses                        -$      0.00
            Net monthly income from a business, profession, or farm $                0.00 Copy here -> $                      0.00       $
      6. Net income from rental and other real property
                                                                                         Debtor 1
            Gross receipts (before all deductions)                            $      0.00
            Ordinary and necessary operating expenses                        -$      0.00
            Net monthly income from rental or other real property             $      0.00 Copy here -> $                      0.00       $
                                                                                                              $               0.00       $
      7. Interest, dividends, and royalties




    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                        page 1
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     Debtor 1     ROSAURA MATA                                                                           Case number (if known)



                                                                                                     Column A                     Column B
                                                                                                     Debtor 1                     Debtor 2 or
                                                                                                                                  non-filing spouse
      8. Unemployment compensation                                                                   $                  0.00      $
           Do not enter the amount if you contend that the amount received was a benefit
           under the Social Security Act. Instead, list it here:
             For you                                             $                 0.00
                For your spouse                                          $
      9. Pension or retirement income. Do not include any amount received that was a
          benefit under the Social Security Act.                                                     $                  0.00      $
      10. Income from all other sources not listed above. Specify the source and amount.
          Do not include any benefits received under the Social Security Act or payments
          received as a victim of a war crime, a crime against humanity, or international or
          domestic terrorism. If necessary, list other sources on a separate page and put the
          total below.
                 .                                                                                   $                  0.00      $
                                                                                                     $                  0.00      $
                      Total amounts from separate pages, if any.                                  + $                   0.00      $

      11. Calculate your total current monthly income. Add lines 2 through 10 for
          each column. Then add the total for Column A to the total for Column B.             $    8,977.25           +$                      =$       8,977.25

                                                                                                                                               Total current monthly
                                                                                                                                               income

     Part 2:        Determine Whether the Means Test Applies to You

      12. Calculate your current monthly income for the year. Follow these steps:
           12a. Copy your total current monthly income from line 11                                            Copy line 11 here=>            $        8,977.25

                  Multiply by 12 (the number of months in a year)                                                                                  x 12
           12b. The result is your annual income for this part of the form                                                              12b. $      107,727.00

      13. Calculate the median family income that applies to you. Follow these steps:

           Fill in the state in which you live.                                 CA

           Fill in the number of people in your household.                       3
           Fill in the median family income for your state and size of household.                                                       13.   $       84,003.00
           To find a list of applicable median income amounts, go online using the link specified in the separate instructions
           for this form. This list may also be available at the bankruptcy clerk’s office.
      14. How do the lines compare?
           14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                          Go to Part 3.
           14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                          Go to Part 3 and fill out Form 122A-2.
     Part 3:        Sign Below
                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

                 X /s/ ROSAURA MATA
                    ROSAURA MATA
                    Signature of Debtor 1
            Date May 7, 2019
                 MM / DD / YYYY
                  If you checked line 14a, do NOT fill out or file Form 122A-2.
                  If you checked line 14b, fill out Form 122A-2 and file it with this form.




    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                             page 2
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Filed 05/09/19                                                                 Case 19-11992                                                                              Doc 1


     Fill in this information to identify your case:                                                                 Check the appropriate box as directed in
                                                                                                                     lines 40 or 42:
     Debtor 1            ROSAURA MATA
                                                                                                                         According to the calculations required by this
     Debtor 2                                                                                                            Statement:
     (Spouse, if filing)
                                                                                                                            1. There is no presumption of abuse.
     United States Bankruptcy Court for the:            Eastern District of California
                                                                                                                            2. There is a presumption of abuse.
     Case number
     (if known)
                                                                                                                         Check if this is an amended filing
    Official Form 122A - 2
    Chapter 7 Means Test Calculation                                                                                                                                04/19

    To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
    space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
    additional pages, write your name and case number (if known).

     Part 1:       Determine Your Adjusted Income

     1.    Copy your total current monthly income.                               Copy line 11 from Official Form 122A-1 here=>........       $              8,977.25

     2.    Did you fill out Column B in Part 1 of Form 122A-1?
               No. Fill in $0 for the total on line 3.
               Yes. Is your spouse Filing with you?
                  No.        Go to line 3.
                  Yes.       Fill in $0 for the total on line 3.

     3.    Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for the
           household expenses of you or your dependents. Follow these steps:

           On line 11, Column B of Form 122A–1, was any amount of the income you reported for your spouse NOT regularly used for the household
           expenses of you or your dependents?

               No. Fill in 0 for the total on line 3.
               Yes. Fill in the information below:

                   State each purpose for which the income was used                                    Fill in the amount you
                   For example, the income is used to pay your spouse's tax debt or to                 are subtracting from
                   support other than you or your dependents.                                          your spouse's income

                                                                                                   $

                                                                                                   $

                                                                                                   $

                         Total.                                                                    $              0.00

                                                                                                                          Copy total here=>...    -$              0.00


     4.    Adjust your current monthly income. Subtract line 3 from line 1.                                                                      $       8,977.25




    Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                      page 1
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     Debtor 1     ROSAURA MATA                                                                          Case number (if known)



     Part 2:          Calculate Your Deductions from Your Income

        The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
        to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
        instructions for this form. This information may also be available at the bankruptcy clerk's office.

        Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some
        of your actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted fro your spouse's
        income in line 3 and do not deduct any operating expenses that you subtracted from in income in lines 5 and 6 of form 122A-1.

        If your expenses differ from month to month, enter the average expense.

        Whenever this part of the from refers to you, it means both you and your spouse if Column B of Form 122A-1 is filled in.


        5.      The number of people used in determining your deductions from income

                Fill in the number of people who could be claimed as exemptions on your federal income tax return,
                plus the number of any additional dependents whom you support. This number may be different from                            3
                the number of people in your household.



        National Standards                   You must use the IRS National Standards to answer the questions in lines 6-7.



        6.      Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
                Standards, fill in the dollar amount for food, clothing, and other items.                                                       $          1,446.00


        7.      Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
                the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
                people who are 65 or older--because older people have a higher IRS allowance for health care costs. If your actual expenses are
                higher than this IRS amount, you may deduct the additional amount on line 22.



        People who are under 65 years of age

                7a. Out-of-pocket health care allowance per person              $        55.00

                7b. Number of people who are under 65                           X         3

                7c. Subtotal. Multiply line 7a by line 7b.                      $       165.00          Copy here=>        $           165.00


        People who are 65 years of age or older

                7d. Out-of-pocket health care allowance per person              $       114.00

                7e. Number of people who are 65 or older                        X         0

                7f.   Subtotal. Multiply line 7d by line 7e.                    $         0.00          Copy here=>       +$             0.00


                7g. Total. Add line 7c and line 7f                                               $     165.00                    Copy total here=> $      165.00




    Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                     page 2
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     Debtor 1     ROSAURA MATA                                                                                    Case number (if known)


        Local Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.

        Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
        bankruptcy purposes into two parts:

             Housing and utilities - Insurance and operating expenses
             Housing and utilities - Mortgage or rent expenses

        To answer the questions in lines 8-9, use the U.S. Trustee Program chart.

        To find the chart, go online using the link specified in the separate instructions for this form.
        This chart may also be available at the bankruptcy clerk's office.


        8.      Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5,
                fill in the dollar amount listed for your county for insurance and operating expenses. ...........................................      $                   599.00

        9.      Housing and utilities - Mortgage or rent expenses:

                9a. Using the number of people you entered in line 5, fill in the dollar amount
                    listed for your county for mortgage or rent expenses...................................                           $       1,251.00

                9b. Total average monthly payment for all mortgages and other debts secured by your home.

                     To calculate the total average monthly payment, add all amounts that are
                     contractually due to each secured creditor in the 60 months after you file
                     for bankruptcy. Then divide by 60.

                     Name of the creditor                                              Average monthly
                                                                                       payment

                     Sierra Pacific Mtg Co                                             $           1,583.53


                                                                                                                                                              Repeat this
                                                                                                                   Copy                                       amount on
                                            Total average monthly payment              $           1,583.53        here=>        -$               1,583.53    line 33a.


                9c. Net mortgage or rent expense.

                     Subtract line 9b (total average monthly payment) from line 9a (mortgage                                                         Copy
                     or rent expense). If this amount is less than $0, enter $0. ........................             $                    0.00      here=>    $               0.00


        10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
            affects the calculation of your monthly expenses, fill in any additional amount you claim.                                                        $                0.00

                 Explain why:

        11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

                   0. Go to line 14.

                   1. Go to line 12.

                   2 or more. Go to line 12.


        12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
            operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                               $             410.00




    Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                                   page 3
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     Debtor 1     ROSAURA MATA                                                                                   Case number (if known)



        13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
            You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
            more than two vehicles.


         Vehicle 1         Describe Vehicle 1:
                                                      2018 LEXUS GS 350 8,500 miles LEASED VEHICLE

        13a. Ownership or leasing costs using IRS Local Standard..........................................               $             508.00

        13b. Average monthly payment for all debts secured by Vehicle 1.
                Do not include costs for leased vehicles.

                To calculate the average monthly payment here and on line 13e, add all amounts that
                are contractually due to each secured creditor in the 60 months after you filed for
                bankruptcy. Then divide by 60.

                     Name of each creditor for Vehicle 1                              Average monthly
                                                                                      payment

                     Toyota Financial Services                                        $             362.67

                                                                                                                                                       Repeat this
                                                                                                                    Copy                               amount on
                                             Total Average Monthly Payment            $             362.67          here =>       -$       362.67      line 33b.




        13c. Net Vehicle 1 ownership or lease expense                                                                                              Copy net
                                                                                                                                                   Vehicle 1
                Subtract line 13b from line 13a. if this amount is less than $0, enter $0.                                                         expense
                                                                                                                         $             145.33      here => $               145.33



         Vehicle 2         Describe Vehicle 2:
                                                      2019 HONDA HR-V 100 miles

        13d. Ownership or leasing costs using IRS Local Standard...................................................      $             508.00

        13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
             leased vehicles.

                     Name of each creditor for Vehicle 2                              Average monthly
                                                                                      payment

                     Barber Automotive Group                                          $             510.10

                                                                                                                    Copy                            Repeat this
                                                                                                                    here                            amount on
                                             Total Average Monthly Payment            $             510.10                                510.10    line 33c.
                                                                                                                    =>       -$


        13f. Net Vehicle 2 ownership or lease expense                                                                                              Copy net
                                                                                                                                                   Vehicle 2
                Subtract line 13e from line 13d. if this amount is less than $0, enter $0. ......................                                  expense
                                                                                                                         $               0.00      here => $                   0.00


        14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
            Transportation expense allowance regardless of whether you use public transportation.                                                             $                0.00

        15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
            also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
            not claim more than the IRS Local Standard for Public Transportation.                                                                             $                0.00




    Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                                   page 4
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     Debtor 1     ROSAURA MATA                                                                          Case number (if known)




        Other Necessary Expenses                In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                                the following IRS categories.

        16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes,
            self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld
            from your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by
            12 and subtract that number from the total monthly amount that is withheld to pay for taxes.
                Do not include real estate, sales, or use taxes.                                                                             $       1,721.10

        17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
            contributions, union dues, and uniform costs.
                Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.         $       1,035.10

        18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
            filing together, include payments that you make for your spouse's term life insurance. Do not include premiums for
            life insurance on your dependents, for a non-filing spouse's life insurance, or for any form of life insurance other than
            term.                                                                                                                            $         124.80

        19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
            administrative agency, such as spousal or child support payments.
                Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.    $             0.00

        20. Education: The total monthly amount that you pay for education that is either required:
                   as a condition for your job, or
                   for your physically or mentally challenged dependent child if no public education is available for similar services.      $             0.00

        21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and
            preschool.
                Do not include payments for any elementary or secondary school education.                                                    $             0.00

        22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
            that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
            by a health savings account. Include only the amount that is more than the total entered in line 7.
                Payments for health insurance or health savings accounts should be listed only in line 25.                                   $             0.00

        23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication
            services for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or
            business cell phone service, to the extent necessary for your health and welfare or that of your dependents or for the
            production of income, if it is not reimbursed by your employer.
                Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
                expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.                  +$             0.00



        24. Add all of the expenses allowed under the IRS expense allowances.                                                               $     5,646.33
            Add lines 6 through 23.




    Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                               page 5
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     Debtor 1     ROSAURA MATA                                                                           Case number (if known)



        Additional Expense Deductions                 These are additional deductions allowed by the Means Test.
                                                      Note: Do not include any expense allowances listed in lines 6-24.

        25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
            insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
            your dependents.
                Health insurance                                                $         0.00
                Disability insurance                                            $        56.16
                Health savings account                                        +$          0.00


                Total                                                           $         56.16      Copy total here=>                 $            56.16


                Do you actually spend this total amount?

                        No. How much do you actually spend?
                        Yes                                                     $
        26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
            continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member
            of your household or member of your immediate family who is unable to pay for such expenses. These expenses
            may include contributions to an account of a qualified ABLE program. 26 U.S.C.§ 529A(b).                                    $             0.00
        27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
            safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

                By law, the court must keep the nature of these expenses confidential.                                                  $             0.00
        28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
            line 8.

                If you believe that you have home energy costs that are more than the home energy costs included in expenses on
                line 8, then fill in the excess amount of home energy costs.

                You must give your case trustee documentation of your actual expenses, and you must show that the additional
                amount claimed is reasonable and necessary.                                                                             $             0.00
        29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
            $170.83* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
            public elementary or secondary school.

                You must give your case trustee documentation of your actual expenses, and you must explain why the amount
                claimed is reasonable and necessary and not already accounted for in lines 6-23.

                * Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.    $             0.00
        30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
            higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
            than 5% of the food and clothing allowances in the IRS National Standards.

                To find a chart showing the maximum additional allowance, go online using the link specified in the separate
                instructions for this form. This chart may also be available at the bankruptcy clerk's office.

                You must show that the additional amount claimed is reasonable and necessary.                                           $             0.00
        31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
            instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).                                          +$         100.00


        32. Add all of the additional expense deductions.                                                                              $       156.16
            Add lines 25 through 31.




    Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                          page 6
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     Debtor 1    ROSAURA MATA                                                                                        Case number (if known)




        Deductions for Debt Payment

        33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
            loans, and other secured debt, fill in lines 33a through 33e.
            To calculate the total average monthly payment, add all amounts that are contractually due to each secured
            creditor in the 60 months after you file for bankruptcy. Then divide by 60.

                 Mortgages on your home:                                                                                                                   Average monthly
                                                                                                                                                           payment

        33a.     Copy line 9b here                                                                                                                   =>    $        1,583.53
                 Loans on your first two vehicles:
        33b.     Copy line 13b here                                                                                                                  =>    $           362.67
        33c.     Copy line 13e here                                                                                                                  =>    $           510.10
        33d.     List other secured debts:
        Name of each creditor for other secured debt                     Identify property that secures the debt                    Does payment
                                                                                                                                    include taxes or
                                                                                                                                    insurance?

                                                                                                                                              No
                -NONE-                                                                                                                        Yes          $

                                                                                                                                              No
                                                                                                                                              Yes          $

                                                                                                                                              No
                                                                                                                                              Yes         +$


                                                                                                                                                       Copy
                                                                                                                                                       total
        33e. Total average monthly payment. Add lines 33a through 33d                                                    $           2,456.30          here=>   $     2,456.30

        34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
            or other property necessary for your support or the support of your dependents?

                 No. Go to line 35.
                 Yes. State any amount that you must pay to a creditor, in addition to the payments
                      listed in line 33, to keep possession of your property (called the cure amount).
                      Next, divide by 60 and fill in the information below.

         Name of the creditor                                    Identify property that secures the debt                         Total cure                     Monthly cure
                                                                                                                                 amount                         amount

         -NONE-                                                                                                              $                       ÷ 60 = $


                                                                                                                                                       Copy
                                                                                                                                                       total
                                                                                                                   Total $                    0.00     here=>   $              0.00


        35. Do you owe any priority claims such as a priority tax, child support, or alimony - that
            are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

                 No. Go to line 36.
                 Yes. Fill in the total amount of all of these priority claims. Do not include current or
                      ongoing priority claims, such as those you listed in line 19.
                          Total amount of all past-due priority claims                                                   $                    0.00 ÷ 60 = $                    0.00




    Official Form 122A-2                                                     Chapter 7 Means Test Calculation                                                               page 7
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Filed 05/09/19                                                                Case 19-11992                                                                                          Doc 1
     Debtor 1     ROSAURA MATA                                                                                 Case number (if known)



        36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
            For more information, go online using the link for Bankruptcy Basics specified in the separate
            instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.

                  No.    Go to line 37.
                  Yes. Fill in the following information.
                         Projected monthly plan payment if you were filing under Chapter 13                        $              1,400.00
                         Current multiplier for your district as stated on the list issued by the
                         Administrative Office of the United States Courts (for districts in Alabama
                         and North Carolina) or by the Executive Office for United States Trustees
                         (for all other districts).                                                               X               8.00

                         To find a list of district multipliers that includes your district, go online using
                         the link specified in the separate instructions for this form. This list may also
                         be available at the bankruptcy clerk’s office.
                                                                                                                                                 Copy total
                         Average monthly administrative expense if you were filing under Chapter 13                    $          112.00         here=> $                112.00



        37. Add all of the deductions for debt payment.                                                                                                       $     2,568.30
            Add lines 33e through 36.

        Total Deductions from Income

        38. Add all of the allowed deductions.
                Copy line 24, All of the expenses allowed under IRS
                expense allowances                                                      $           5,646.33
                Copy line 32, All of the additional expense deductions                  $              156.16
                Copy line 37, All of the deductions for debt payment                   +$           2,568.30


                                                                   Total deductions     $           8,370.79               Copy total here...........=>       $        8,370.79


     Part 3:        Determine Whether There is a Presumption of Abuse

        39. Calculate monthly disposable income for 60 months
                39a. Copy line 4, adjusted current monthly income                       $           8,977.25
                39b. Copy line 38,Total deductions                                    -$            8,370.79

                39c. Monthly disposable income. 11 U.S.C. § 707(b)(2).                                                     Copy
                     Subtract line 39b from line 39a                                    $              606.46              here=>$                        606.46


                For the next 60 months (5 years)                                                                                          x 60

                                                                                                                                         Copy
                39d. Total. Multiply line 39c by 60                                         39d.   $               36,387.60             here=>           $        36,387.60

        40. Find out whether there is a presumption of abuse. Check the box that applies:

                  The line 39d is less than $8,175*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to Part 5.

                  The line 39d is more than $13,650*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You may fill out
                  Part 4 if you claim special circumstances. Go to Part 5.

                  The line 39d is at least $8,175*, but not more than $13,650*. Go to line 41.

            *Subject to adjustment on 4/01/22, and every 3 years after that for cases filed on or after the date of adjustment.




    Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                                 page 8
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     Debtor 1     ROSAURA MATA                                                                                                     Case number (if known)




        41.       41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out
                       A Summary of Your Assets and Liabilities and Certain Statistical Information
                       Schedules (Official Form 106Sum), you may refer to line 3b on that form.                                           $
                                                                                                                                              x      .25
                                                                                                                                                                 Copy
                  41b. 25% or your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I)                                       $                      here=>   $
                         Multiply line 41a by 0.25.....................................................................................

        42. Determine whether the income you have left over after subtracting all allowed deductions is enough to pay
            25% of your unsecured, nonpriority debt.
            Check the box that applies:

                  Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
                  Go to Part 5.

                  Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a
                  presumption of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.


     Part 4:        Give Details About Special Circumstances

     43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
         reasonable alternative? 11 U.S.C. § 707(b)(2)(B).


                No. Go to Part 5.

                Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment for
                     each item. You may include expenses you listed in line 25.

                     You must give a detailed explanation of the special circumstances that make the expenses or income adjustments
                     necessary and reasonable. You must also give your case trustee documentation of your actual expenses or income
                     adjustments.



                      Give a detailed explanation of the special circumstances                                                     Average monthly expense
                                                                                                                                   or income adjustment

                      ONLY PAID 10 MONTHS A YEAR                                                                                      $                     933.33

                      NO LONGER HAVE AVAILABILITY OF                                                                                  $
                      ADDITIONAL DUTIES                                                                                               $

                                                                                                                                      $


     Part 5:        Sign Below
                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

                 X /s/ ROSAURA MATA
                     ROSAURA MATA
                     Signature of Debtor 1
              Date May 7, 2019
                   MM / DD / YYYY




    Official Form 122A-2                                                         Chapter 7 Means Test Calculation                                                                    page 9
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Filed 05/09/19                                                                Case 19-11992                                                        Doc 1
     Debtor 1    ROSAURA MATA                                                                           Case number (if known)




                                                      Current Monthly Income Details for the Debtor

    Debtor Income Details:
    Income for the Period 11/01/2018 to 04/30/2019.

    Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
    Source of Income: Bakersfield City Schools
    Year-to-Date Income:
    Last Year:
    Starting Year-to-Date Income: $85,884.47 from check dated                          10/31/2018 .
    Ending Year-to-Date Income: $103,992.31 from check dated                           12/31/2018 .

    This Year:
    Current Year-to-Date Income: $35,755.68 from check dated                           4/30/2019    .

    Income for six-month period (Current+(Ending-Starting)): $53,863.52 .
    Average Monthly Income: $8,977.25 .




    Official Form 122A-2                                                 Chapter 7 Means Test Calculation                               page 10
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Filed 05/09/19                                                            Case 19-11992                                                                 Doc 1

    Notice Required by 11 U.S.C. § 342(b) for
    Individuals Filing for Bankruptcy (Form 2010)


                                                                                              Chapter 7:        Liquidation
     This notice is for you if:
                                                                                                      $245   filing fee
            You are an individual filing for bankruptcy,
            and                                                                                        $75   administrative fee

            Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
            Consumer debts are defined in 11 U.S.C.
            § 101(8) as “incurred by an individual                                                    $335   total fee
            primarily for a personal, family, or
            household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                              difficulty preventing them from paying their debts
                                                                                              and who are willing to allow their nonexempt
     The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
     individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                              your debts discharged. The bankruptcy discharge
     Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
     one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                              for particular debts, and liens on property may still
            Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                              may have the right to foreclose a home mortgage or
            Chapter 11 - Reorganization                                                       repossess an automobile.

            Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                        for family farmers or                                                 certain kinds of improper conduct described in the
                        fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                              discharge.
            Chapter 13 - Voluntary repayment plan
                        for individuals with regular                                          You should know that even if you file chapter 7 and
                        income                                                                you receive a discharge, some debts are not
                                                                                              discharged under the law. Therefore, you may still
                                                                                              be responsible to pay:
     You should have an attorney review your
     decision to file for bankruptcy and the choice of                                            most taxes;
     chapter.
                                                                                                  most student loans;

                                                                                                  domestic support and property settlement
                                                                                                  obligations;




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1

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            most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
            restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                              results of the Means Test, the U.S. trustee, bankruptcy
            certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
            papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                              motion is filed, the court will decide if your case should
     You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                              proceed under another chapter of the Bankruptcy
            fraud or theft;                                                                   Code.

            fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
            fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                              subject to your right to exempt the property or a portion
            intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                              property, and the proceeds from property that your
            death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
            motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
            from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                              household items or to receive some of the proceeds if
     If your debts are primarily consumer debts, the court                                    the property is sold.
     can dismiss your chapter 7 case if it finds that you have
     enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property, you
     You must file Chapter 7 Statement of Your Current                                        must list it on Schedule C: The Property You Claim as
     Monthly Income (Official Form 122A–1) if you are an                                      Exempt (Official Form 106C). If you do not list the
     individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
     form will determine your current monthly income and                                      proceeds to your creditors.
     compare whether your income is more than the median
     income that applies in your state.

     If your income is not above the median for your state,
     you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
     the Chapter 7 Means Test Calculation (Official Form
     122A–2).
                                                                                                           $1,167   filing fee
     If your income is above the median for your state, you
     must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
     Calculation (Official Form 122A–2). The calculations on                                               $1,717   total fee
     the form— sometimes called the Means Test—deduct
     from your income living expenses and payments on                                         Chapter 11 is often used for reorganizing a business,
     certain debts to determine any amount available to pay                                   but is also available to individuals. The provisions of
     unsecured creditors. If                                                                  chapter 11 are too complicated to summarize briefly.




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2

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            Read These Important Warnings

                 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
                 your property, you should hire an attorney and carefully consider all of your options before you file. Only
                 an attorney can give you legal advice about what can happen as a result of filing for bankruptcy and
                 what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms properly
                 and protect you, your family, your home, and your possessions.

                 Although the law allows you to represent yourself in bankruptcy court, you should understand that many
                 people find it difficult to represent themselves successfully. The rules are technical, and a mistake or
                 inaction may harm you. If you file without an attorney, you are still responsible for knowing and
                 following all of the legal requirements.

                 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
                 necessary documents.

                 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
                 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
                 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
                 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                              Under chapter 13, you must file with the court a plan to
     Chapter 12: Repayment plan for family                                                    repay your creditors all or part of the money that you
                 farmers or fishermen                                                         owe them, usually using your future earnings. If the
                                                                                              court approves your plan, the court will allow you to
                                                                                              repay your debts, as adjusted by the plan, within 3
                       $200       filing fee                                                  years or 5 years, depending on your income and other
     +                  $75       administrative fee                                          factors.
                       $275       total fee
                                                                                              After you make all the payments under your plan,
     Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
     and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
     using future earnings and to discharge some debts that                                   pay include:
     are not paid.
                                                                                                     domestic support obligations,

                                                                                                     most student loans,
     Chapter 13: Repayment plan for
                 individuals with regular                                                            certain taxes,
                 income
                                                                                                     debts for fraud or theft,

                       $235       filing fee                                                         debts for fraud or defalcation while acting in a
     +                  $75       administrative fee                                                 fiduciary capacity,
                       $310       total fee
                                                                                                     most criminal fines and restitution obligations,
     Chapter 13 is for individuals who have regular income
     and would like to pay all or part of their debts in                                             certain debts that are not listed in your
     installments over a period of time and to discharge some                                        bankruptcy papers,
     debts that are not paid. You are eligible for chapter 13
     only if your debts are not more than certain dollar                                             certain debts for acts that caused death or
     amounts set forth in 11 U.S.C. § 109.                                                           personal injury, and

                                                                                                     certain long-term secured debts.



    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3

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                                                                                              A married couple may file a bankruptcy case
                   Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                              each spouse lists the same mailing address on the
     Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
     you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
     creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
     general financial condition. The court may dismiss your                                  each spouse receive separate copies.
     bankruptcy case if you do not file this information within
     the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
     Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

     For more information about the documents and                                             The law generally requires that you receive a credit
     their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
     http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint case,
     s.html#procedure.                                                                        both spouses must receive the briefing. With limited
                                                                                              exceptions, you must receive it within the 180 days
                                                                                              before you file your bankruptcy petition. This briefing is
     Bankruptcy crimes have serious consequences                                              usually conducted by telephone or on the Internet.

            If you knowingly and fraudulently conceal assets                                  In addition, after filing a bankruptcy case, you generally
            or make a false oath or statement under penalty of                                must complete a financial management instructional
            perjury—either orally or in writing—in connection                                 course before you can receive a discharge. If you are
            with a bankruptcy case, you may be fined,                                         filing a joint case, both spouses must complete the
            imprisoned, or both.                                                              course.

            All information you supply in connection with a                                   You can obtain the list of agencies approved to provide
            bankruptcy case is subject to examination by the                                  both the briefing and the instructional course from:
            Attorney General acting through the Office of the                                 http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
            U.S. Trustee, the Office of the U.S. Attorney, and
            other offices and employees of the U.S.                                           In Alabama and North Carolina, go to:
            Department of Justice.                                                            http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                              BankruptcyResources/ApprovedCredit
     Make sure the court has your mailing address                                             AndDebtCounselors.aspx.

     The bankruptcy court sends notices to the mailing                                        If you do not have access to a computer, the clerk of
     address you list on Voluntary Petition for Individuals                                   the bankruptcy court may be able to help you obtain the
     Filing for Bankruptcy (Official Form 101). To ensure                                     list.
     that you receive information about your case,
     Bankruptcy Rule 4002 requires that you notify the court
     of any changes in your address.




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4

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Filed 05/09/19                                                                Case 19-11992                                                                      Doc 1
    B2030 (Form 2030) (12/15)
                                                                  United States Bankruptcy Court
                                                                         Eastern District of California
     In re       ROSAURA MATA                                                                                     Case No.
                                                                                      Debtor(s)                   Chapter       7

                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
    1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
           compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
           be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                 For legal services, I have agreed to accept                                                  $                     2,000.00
                 Prior to the filing of this statement I have received                                        $                     1,600.00
                 Balance Due                                                                                  $                      400.00

    2.     The source of the compensation paid to me was:

                      Debtor                 Other (specify):

    3.     The source of compensation to be paid to me is:

                      Debtor                 Other (specify):

    4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

                I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
                copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

    5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

           a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
           b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
           c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
           d.   [Other provisions as needed]


    6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                               CERTIFICATION
           I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
     this bankruptcy proceeding.

         May 7, 2019                                                                  /s/ Robert S. Williams
         Date                                                                         Robert S. Williams 73172 CA
                                                                                      Signature of Attorney
                                                                                      Williams & Williams, Inc.
                                                                                      2441 G St., Ste. A
                                                                                      Bakersfield, CA 93301
                                                                                      661-323-7933 Fax: 661-323-9855
                                                                                      bob@kernbankruptcy.law
                                                                                      Name of law firm




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               Pg. 1 of 1
 Amex
Filed 05/09/19                           Toyota Financial Services
                               Case 19-11992                         Doc 1
 Correspondence/Bankruptcy               Attn: Bankruptcy Dept
 Po Box 981540                           Po Box 8026
 El Paso, TX 79998                       Cedar Rapids, IA 52409
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 ARS National Services, Inc.           Toyota Financial Services
 PO Box 469100                         Po Box 8026
 Escondido, CA 92046-9100              Cedar Rapids, IA 52409



 Bank Of America
 4909 Savarese Circle
 Fl1-908-01-50
 Tampa, FL 33634


 Barber Automotive Group
 4625 Wible Rd.
 Bakersfield, CA 93313



 Brclysbankde
 125 S West St
 Wilmington, DE 19801



 Chase Card Services
 Attn: Bankruptcy
 Po Box 15298
 Wilmington, DE 19850


 Citicards Cbna
 Citi Bank
 Po Box 6077
 Sioux Falls, SD 57117


 Kohls/Capital One
 Kohls Credit
 Po Box 3120
 Milwaukee, WI 53201


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